AO 245C-CAED (Rev. 3/04) Sheet 1 - Amended Judgment in a Criminal Case                                  (NOTE: Identify Changes with Asterisks*)

                         Case 2:03-cr-00384-WBS Document 374 Filed 09/23/11 Page 1 of 7
                                            United States District Court
                                                    Eastern District of California


               UNITED STATES OF AMERICA                                        SECOND AMENDED JUDGMENT IN A
                                                                               CRIMINAL CASE
                                      v.                                       (For Offenses Committed On or After November 1, 1987)
                                                                               Case Number: 2:03CR00384-01
                    MICHAEL LABRECQUE;
                        AKA JOSEPH                                             Carol Wiggin, Appointed
                                                                               Defendant’s Attorney

Date of Original Judgment:                 9/12/2011
(Or Date of Last Amended Judgment)

Reason for Amendment:
[ ] Correction of Sentence on Remand (Fed R. Crim. P. 35(a))                 [ ] Modification of Supervision Conditions (18 U.S.C. §3563(c) or 3583(e))
[ ] Reduction of Sentence for Changed Circumstances                          [ ] Modification of Imposed Term of Imprisonment for Extraordinary and
      (Fed R. Crim. P. 35(b))                                                    Compelling Reasons (18 U.S.C.§3582(c)(1))
[ ] Correction of Sentence by Sentencing Court (Fed. R. Crim P. 35(c))       [ ] Modification of Imposed Term of Imprisonment for Retroactive
                                                                                 Amendment(s) to the Sentencing Guidelines (18 U.S.C.§3582(c)(2))
[U] Correction of Sentence for Clerical Mistake (Fed. R. Crim. P. 36)        [ ] Direct Motion to District Court Pursuant to [ ] 28 U.S.C. §2255
                                                                                 [ ] 18 U.S.C. §3559(c)(7), [ ] Modification of Restitution Order
THE DEFENDANT:
[]          pleaded guilty to count(s): .
[]          pleaded nolo contendere to counts(s)        which was accepted by the court.
[U]         was found guilty on count(s) 1, 4, 5, 6, 7 and 8 of the Second Superseding Indictment after a plea of not guilty.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offense(s):
                                                                                 Date Offense                                           Count
Title & Section             Nature of Offense                                    Concluded                                              Number(s)
See next page.



        The defendant is sentenced as provided in pages 2 through 7 of this judgment. The sentence is imposed pursuant
to the Sentencing Reform Act of 1984.

[]          The defendant has been found not guilty on counts(s)         and is discharged as to such count(s).
[]          Count(s)      (is)(are) dismissed on the motion of the United States.
[]          Indictment is to be dismissed by District Court on motion of the United States.
[]          Appeal rights given.                       [U]      Appeal rights waived.

        IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within
30 days of any change of name, residence, or mailing address until all fines, restitution, costs, and special
assessments imposed by this judgment are fully paid. If ordered to pay restitution, the defendant must notify the
court and United States attorney of material changes in economic circumstances.

                                                                         September 22, 2011
                                                                         Date of Imposition of Judgment



                                                                         Signature of Judicial Officer



                                                                         WILLIAM B. SHUBB, United States District Judge
                                                                         Name & Title of Judicial Officer

                                                                         September 23, 2011
                                                                         Date
                    Case 2:03-cr-00384-WBS Document 374 Filed 09/23/11 Page 2 of 7
AO 245B-CAED (Rev. 3/04) Sheet 1 - Judgment in a Criminal Case
CASE NUMBER:                2:03CR00384-01                                                            Judgment - Page 2 of 7
DEFENDANT:                  MICHAEL LABRECQUE; AKA JOSEPH
                                                                                       Date Offense    Count
Title & Section                      Nature of Offense                                 Concluded       Number(s)

18 U.S.C. 2423(a) and 2              Interstate Travel of a Minor With the Intent of   9/1/1991        1
                                     Engaging in Criminal Sexual Activity; Aiding
                                     and Abetting
18 U.S.C. 2423(a) and 2              Interstate Travel of a Minor With the Intent of   9/7/1999        4
                                     Engaging in Criminal Sexual Activity; Aiding
                                     and Abetting
18 U.S.C. 2423(a) and 2              Interstate Travel of a Minor With the Intent of   8/9/2000        5
                                     Engaging in Criminal Sexual Activity; Aiding
                                     and Abetting
18 U.S.C. 2423(a) and 2              Interstate Travel of a Minor With the Intent of   8/3/2001        6
                                     Engaging in Criminal Sexual Activity; Aiding
                                     and Abetting
18 U.S.C. 2423(a) and 2              Interstate Travel of a Minor With the Intent of   8/6/1998        7
                                     Engaging in Criminal Sexual Activity; Aiding
                                     and Abetting
18 U.S.C. 2423(a) and 2              Interstate Travel of a Minor With the Intent of   1/20/1999       8
                                     Engaging in Criminal Sexual Activity; Aiding
                                     and Abetting
                   Case 2:03-cr-00384-WBS Document 374 Filed 09/23/11 Page 3 of 7
AO 245B-CAED (Rev. 3/04) Sheet 2 - Imprisonment
CASE NUMBER:               2:03CR00384-01                                                                    Judgment - Page 3 of 7
DEFENDANT:                 MICHAEL LABRECQUE; AKA JOSEPH

                                                        IMPRISONMENT
The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term
of 120 months as to each of Counts 1 and 7, to be served consecutively to each other; 180 months as to each of Counts 4,
5, 6 and 8, to be served consecutively to each other and to Counts 1 and 7, for a total term of 960 months.



[]                                  The court makes the following recommendations to the Bureau of Prisons:



[U]                                 The defendant is remanded to the custody of the United States Marshal.


[]                                  The defendant shall surrender to the United States Marshal for this district.
                                    [ ] at     on     .
                                    [ ] as notified by the United States Marshal.


[]                                  The defendant shall surrender for service of sentence at the institution designated by the
                                    Bureau of Prisons:
                                    [ ] before on       .
                                    [ ] as notified by the United States Marshal.
                                    [ ] as notified by the Probation or Pretrial Services Officer.
                                    If no such institution has been designated, to the United States Marshal for this district.

                                                               RETURN
I have executed this judgment as follows:




                                    Defendant delivered on                                   to


at                                          , with a certified copy of this judgment.




                                                                                                  UNITED STATES MARSHAL



                                                                                        By
                                                                                                     Deputy U.S. Marshal
                     Case 2:03-cr-00384-WBS Document 374 Filed 09/23/11 Page 4 of 7
AO 245B-CAED (Rev. 3/04) Sheet 3 - Supervised Release
CASE NUMBER:                2:03CR00384-01                                                                                Judgment - Page 4 of 7
DEFENDANT:                  MICHAEL LABRECQUE; AKA JOSEPH


                                                  SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of 36 months as to each of Counts 1, 4, 5, 6,
7 and 8, to be served concurrently to each other for a total term of 36 months.

The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.

The defendant shall not commit another federal, state, or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug
tests thereafter, not to exceed four (4) drug tests per month.

[]                                    The above drug testing condition is suspended based on the court's determination that the
                                      defendant poses a low risk of future substance abuse. (Check, if applicable.)

[U]                                   The defendant shall not possess a firearm, destructive device, or any other dangerous weapon.
                                      (Check, if applicable.)

[U]                                   The defendant shall submit to the collection of DNA as directed by the probation officer. (Check, if
                                      applicable.)

[U]                                   The defendant shall register and comply with the requirements in the federal and state sex offender
                                      registration agency in the jurisdiction of conviction, Eastern District of California, and in the state
                                      and in any jurisdiction where the defendant resides, is employed, or is a student. (Check, if
                                      applicable.)

[]                                    The defendant shall participate in an approved program for domestic violence. (Check, if
                                      applicable.)

If this judgment imposes a fine or a restitution obligation, it is a condition of supervised release that the defendant pay in accordance
with the Schedule of Payments sheet of this judgment.

The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                 STANDARD CONDITIONS OF SUPERVISION
1)    the defendant shall not leave the judicial district without permission of the court or probation officer;
2)    the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
      each month;
3)    the defendant shall answer truthfully all inquiries by the probation officer and follow instructions of the probation officer;
4)    the defendant shall support his or her dependants and meet other family responsibilities;
5)    the defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training or other
      acceptable reasons;
6)    the defendant shall notify the probation officer ten days prior to any change in residence or employment;
7)    the defendant shall refrain from excessive use of alcohol;
8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9)    the defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person convicted
      of a felony unless granted permission to do so by the probation officer;
10)   the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere, and shall permit confiscation of
      any contraband observed in plain view by the probation officer;
11)   the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
      officer;
12)   the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
      permission of the court;
13)   as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's
      criminal record or personal history or characteristics, and shall permit the probation officer to make such notifications and to
      confirm the defendant's compliance with such notification requirement.
                   Case 2:03-cr-00384-WBS Document 374 Filed 09/23/11 Page 5 of 7
AO 245B-CAED (Rev. 3/04) Sheet 3 - Supervised Release
CASE NUMBER:               2:03CR00384-01                                                                     Judgment - Page 5 of 7
DEFENDANT:                 MICHAEL LABRECQUE; AKA JOSEPH


                                 SPECIAL CONDITIONS OF SUPERVISION

1.   The defendant shall submit to the search of his person, property, house, residence, vehicle, papers, computer, other
     electronic communication or data storage devices or media, and effects at any time, with or without a warrant, by any law
     enforcement or probation officer in the lawful discharge of the officer’s supervision functions with reasonable suspicion
     concerning unlawful conduct or a violation of a condition of probation or supervised release.

2.    As directed by the probation officer, the defendant shall participate in a program of outpatient mental health treatment.

3.   As directed by the probation officer, the defendant shall participate in a co-payment plan for treatment or testing and shall
     make payment directly to the vendor under contract with the United States Probation Office of up to $25 per month.

4.   The defendant shall not possess or use a computer or any device that has access to any “on-line computer service” unless
     approved by the probation officer. This includes any Internet service provider, bulletin board system, or any other public
     or private computer network.

5.   The defendant shall have no contact with children under the age of 18 unless approved by the probation officer in
     advance. The defendant is not to loiter within 100 feet of school yards, parks, playgrounds, arcades, or other places
     primarily used by children under the age of 18. This shall include that the defendant is not to engage in any occupation,
     either paid or volunteer, which exposes him directly or indirectly with children under the age of 18.

6.   The defendant shall consent to the probation officer and/or probation service representative conducting periodic
     unannounced examinations of (a) any computer, or (b) computer-related device, or (c) equipment that has an internal or
     external modem which is in the possession or control of the defendant. The defendant consents to retrieval and copying
     of all data from any such computer, computer-related device, or equipment as well as any internal or external peripherals
     to ensure compliance with conditions. The defendant consents to removal of such computer, computer-related device,
     and equipment for purposes of conducting a more thorough inspection; and analysis.

     The defendant consents to having installed on any computer, computer-related device, and equipment, at the defendant’s
     expense, any hardware or software systems to monitor the use of such computer, computer-related device, and
     equipment at the direction of the probation officer, and agrees not to tamper with such hardware or software and not install
     or use any software programs designed to hide, alter, or delete his/her computer activities. The defendant consents to
     not installing new hardware without the prior approval of the probation officer.

7.   The defendant shall not possess, own, use, view, read, or frequent places with material depicting and/or describing
     sexually explicit conduct, including computer images, pictures, photographs, books, writings, drawings, videos, or video
     games. “Sexually explicit conduct” as defined in 18 USC 2256(2) means actual or simulated (a) sexual intercourse,
     including genital-genital, oral-genital, or oral-anal, whether between the same or opposite sex; (b) bestiality; (c)
     masturbation; (d) sadistic or masochistic abuse; or (e) lascivious exhibition of the genitals or pubic area of any person.

8.   The defendant shall attend, cooperate with, and actively participate in a sex offender treatment and therapy program
     [which may include, but is not limited to, risk assessment, polygraph examination, computer voice stress analysis (CVSA),
     and/or ABEL assessment] as approved and directed by the probation officer and as recommended by the assigned
     treatment provider.

9.   The defendant’s residence shall be pre-approved by the probation officer. The defendant shall not reside in direct view
     of places such as school yards, parks, public swimming pools, or recreational centers, playgrounds, youth centers, video
     arcade facilities, or other places primarily used by children under the age of 18.
                      Case 2:03-cr-00384-WBS Document 374 Filed 09/23/11 Page 6 of 7
AO 245B-CAED (Rev. 3/04) Sheet 5 - Criminal Monetary Penalties
CASE NUMBER:                  2:03CR00384-01                                                                             Judgment - Page 6 of 7
DEFENDANT:                    MICHAEL LABRECQUE; AKA JOSEPH


                                           CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the Schedule of Payments on Sheet 6.

                                                     Assessment                        Fine                     Restitution
       Totals:                                          $ 600                        $ 25,000                       $


[]     The determination of restitution is deferred until         . An Amended Judgment in a Criminal Case (AO 245C) will be entered
       after such determination.

[]     The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

       If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless
       specified otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i),
       all nonfederal victims must be paid before the United States is paid.



Name of Payee                                        Total Loss*              Restitution Ordered Priority or Percentage


       TOTALS:                                           $                              $




[]     Restitution amount ordered pursuant to plea agreement $

[]     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full
       before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on
       Sheet 6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

[ ]       The court determined that the defendant does not have the ability to pay interest and it is ordered that:

       [U] The interest requirement is waived for the                 [U] fine              [ ] restitution

       [ ] The interest requirement for the                  [ ] fine [ ] restitution is modified as follows:




[]     If incarcerated, payment of the fine is due during imprisonment at the rate of not less than $25 per quarter
       and payment shall be through the Bureau of Prisons Inmate Financial Responsibility Program.

[]     If incarcerated, payment of restitution is due during imprisonment at the rate of not less than $25 per quarter
       and payment shall be through the Bureau of Prisons Inmate Financial Responsibility Program.




  ** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for
offenses committed on or after September 13, 1994, but before April 23, 1996.
                     Case 2:03-cr-00384-WBS Document 374 Filed 09/23/11 Page 7 of 7
AO 245B-CAED (Rev. 3/04) Sheet 6 - Schedule of Payments
CASE NUMBER:                 2:03CR00384-01                                                                          Judgment - Page 7 of 7
DEFENDANT:                   MICHAEL LABRECQUE; AKA JOSEPH

                                                 SCHEDULE OF PAYMENTS


     Payment of the total fine and other criminal monetary penalties shall be due as follows:

A    [ ] Lump sum payment of $              due immediately, balance due

           []      not later than  , or
           []      in accordance with            [ ] C,   [ ] D,   [ ] E, or   [ ] F below; or

B    [U]           Payment to begin immediately (may be combined with          [ ] C,   [ ] D, or [ ] F below); or

C    [ ] Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of             (e.g., months or years),
         to commence     (e.g., 30 or 60 days) after the date of this judgment; or

D    [ ] Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of (e.g., months or years),
         to commence     (e.g., 30 or 60 days) after release from imprisonment to a term of supervision; or

E    [ ] Payment during the term of supervised release will commence within     (e.g., 30 or 60 days) after release from
         imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that
         time; or

F    [ ] Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary
penalties is due during imprisonment. All criminal monetary penalties, except those payments made through the Federal
Bureau of Prisons' Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

[]   Joint and Several

Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several
Amount, and corresponding payee, if appropriate:



[]   The defendant shall pay the cost of prosecution.

[]   The defendant shall pay the following court cost(s):

[]   The defendant shall forfeit the defendant’s interest in the following property to the United States:
